    Case 8:20-cv-01650-JLS-KES Document 16 Filed 11/09/20 Page 1 of 1 Page ID #:65

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

 Case No.          SACV 20-01650-JLS (KESx)                          Date        November 9, 2020
 Title             James Rutherford v. John Taylor Pedicini, et al



 Present: The Honorable           JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE
                Melissa Kunig                         None Present                         __________
                Deputy Clerk                   Court Reporter / Recorder                    Tape No.
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      None Present                                      None Present
 Proceedings:               (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                            LACK OF PROSECUTION

        The Court, on its own motion, hereby ORDERS plaintiff, to show cause in writing no
later than November 13, 2020, why this action should not be dismissed for lack of prosecution.
As an alternative to a written response by plaintiffs, the Court will consider the filing of one of
the following, as an appropriate response to this OSC, on or before the above date:

X        Answer to the Complaint;
X        Request for Entry of Default; or
X        Notice of Voluntary Dismissal (F.R.Civ.P. 41)

       Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P 4(m). The Court may dismiss the entire action prior to the
expiration of such time, however, if plaintiff has not diligently prosecuted the action.

       It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any
defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 7-1.

        No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.
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                                                       Initial of Deputy Clerk   mku



CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                 Page 1 of 1
